       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 1 of 12



 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK



 KIMBERLEE A. FRAREY,

                              Plaintiff,                                   ANSWER
        -vs-
                                                                        Civil Action No.
 ANTHONY L. JORDAN HEALTH                                                 18-CV-6216
 CORPORATION,

                              Defendant.


         Defendant Anthony L. Jordan Health Corporation (“Jordan Health” or the “Defendant”),

by its attorneys, Barclay Damon LLP, as and for its Answer to the Complaint filed March 14,

2018 (the “Complaint”) by Plaintiff Kimberlee A. Frarey (“Plaintiff”), hereby responds as

follows:

                               PRELIMINARY STATEMENT

         1.    Paragraph 1 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant denies such allegations.

         2.    Paragraph 2 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant denies such allegations.

                               JURISDICTION AND VENUE

         3.    Paragraph 3 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant denies such allegations.




15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 2 of 12



         4.    Paragraph 4 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant denies such allegations.

         5.    Paragraph 5 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant admits venue for this action is appropriate in this Court.

                                            PARTIES

         6.    Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 6 of the Complaint.

         7.    Admits the allegations contained in Paragraph 7 of the Complaint.

         8.    Denies the allegations contained in Paragraph 8 of the Complaint.

         9.    Paragraph 9 of the Complaint sets forth a legal conclusion not calling for an

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant denies such allegations.

         10.   Except for those allegations specifically admitted in this Answer, Defendant

denies the allegations contained in Paragraph 10 of the Complaint.

         11.   Admits the allegations contained in Paragraph 11 of the Complaint.

         12.   Admits the allegations contained in Paragraph 12 of the Complaint to the extent

that Jordan Health is a federally qualified health center (“FQHC”) and receives funding from the

federal government and the State of New York through various grants, but otherwise denies the

allegation to the extent it suggests Jordan Health is exclusively funded by the federal government

and the State of New York.

         13.   Admits the allegations contained in Paragraph 13 of the Complaint.

                                                   -2-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 3 of 12



         14.   Admits the allegations contained in Paragraph 14 of the Complaint to the extent

that Janice Harbin (“Harbin”) became the interim President/CEO of Jordan Health in November

2012, and the President/CEO of Jordan Health in November 2013, and has served in that role

since that time, but otherwise denies the remaining allegations contained in Paragraph 14 of the

Complaint.

         15.   Admits the allegations contained in Paragraph 15 of the Complaint only to the

extent that Jason Dunn (“Dunn”) became the Chief Operating Officer of Jordan Health in or

about late 2013 and has served in that role since that time, but otherwise denies the remaining

allegations contained in Paragraph 15 of the Complaint.

         16.   Admits the allegations contained in Paragraph 16 of the Complaint only to the

extent that Shelley Knapp was Jordan Health’s Senior Director of Human Resources and Talent

Management beginning in August 2014, and has served in that role since that time, but otherwise

denies the remaining allegations contained in Paragraph 16 of the Complaint.

         17.   Paragraph 17 of the Complaint sets forth a legal conclusion not calling for

admission or denial but, to the extent it contains allegations to which a response is required,

Defendant admits this Court has personal jurisdiction over Defendant.

                                 FACTUAL ALLEGATIONS

         18.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 18 of the Complaint, and otherwise denies

Plaintiff’s characterization of an alleged misappropriation of approximately $10,000 as a

“Misappropriation Scheme.”

         19.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 19 of the Complaint.

                                                   -3-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 4 of 12



         20.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 20 of the Complaint.

         21.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 21 of the Complaint.

         22.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 22 of the Complaint.

         23.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 23 of the Complaint.

         24.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 24 of the Complaint.

         25.   Denies the allegations contained in Paragraph 25 of the Complaint.

         26.   Denies the allegations contained in Paragraph 26 of the Complaint.

         27.   Denies the allegations contained in Paragraph 27 of the Complaint.

         28.   Denies the allegations contained in Paragraph 28 of the Complaint.

         29.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 29 of the Complaint.

         30.   Denies the allegations contained in Paragraph 30 of the Complaint.

         31.   Admits the allegations contained in Paragraph 31 of the Complaint to the extent it

alleges that Ms. Frarey attended the July 28 Board Meeting along with Jonathan Clune

(“Clune”), who has been Jordan Health’s Chief Financial Officer since in or about 2008, but

otherwise denies the remaining allegations contained in Paragraph 31 of the Complaint.

         32.   Denies the allegations contained in Paragraph 32 of the Complaint.

         33.   Denies the allegations contained in Paragraph 33 of the Complaint.

                                                   -4-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 5 of 12



         34.     Admits the allegations contained in Paragraph 34 of the Complaint to the extent it

alleges that Clune sent an email containing the word “larceny” to the Board, but otherwise denies

the remaining allegations contained in Paragraph 34 of the Complaint.

         35.     Denies the allegations contained in Paragraph 35 of the Complaint.

         36.     Admits the allegations contained in Paragraph 36 of the Complaint to the extent

that it alleges a Special Board Meeting was set for August 6, 2015, but otherwise denies the

remaining allegations in Paragraph 36 of the Complaint.

         37.     Admits the allegations contained in Paragraph 37 of the Complaint to the extent

that it alleges Ms. Frarey reported at the August 6, 2015 Special Board Meeting on a compliance

matter involving Dunn and Knapp, but otherwise denies the remaining allegations in Paragraph

37 of the Complaint.

         38.     Admits the allegations contained in Paragraph 38 of the Complaint to the extent

that it alleges Ms. Frarey recommended discipline of Dunn and Knapp, up to and including

termination, and restitution, but otherwise denies the remaining allegations in Paragraph 38 of

the Complaint.

         39.     Denies the allegations contained in Paragraph 39 of the Complaint.

         40.     Denies the allegations contained in Paragraph 40 of the Complaint.

         41.     Denies the allegations contained in Paragraph 41 of the Complaint.

         42.     Denies the allegations contained in Paragraph 42 of the Complaint.

         43.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 43 of the Complaint.

         44.     Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 44 of the Complaint.

                                                    -5-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 6 of 12



         45.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 45 of the Complaint.

         46.   Admits the allegations contained in Paragraph 46 of the Complaint to the extent it

alleges Ms. Frarey had communications with Clune and Harbin during the period of August 2015

through November 2015, but otherwise denies knowledge or information sufficient to form a

belief as to the truth or falsity of the remaining allegations contained in Paragraph 46 of the

Complaint.

         47.   Denies the allegations contained in Paragraph 47 of the Complaint.

         48.   Denies the allegations contained in Paragraph 48 of the Complaint.

         49.   Denies the allegations contained in Paragraph 49 of the Complaint.

         50.   Denies the allegations contained in Paragraph 50 of the Complaint.

         51.   Denies the allegations contained in paragraph 51 of the Complaint.

         52.   Denies the allegations contained in Paragraph 52 of the Complaint.

         53.   Denies the allegations contained in Paragraph 53 of the Complaint.

         54.   Denies the allegations contained in Paragraph 54 of the Complaint.

         55.   Denies the allegations contained in Paragraph 55 of the Complaint.

         56.   Denies the allegations contained in Paragraph 56 of the Complaint.

         57.   Denies the allegations contained in Paragraph 57 of the Complaint.

         58.   Denies the allegations contained in Paragraph 58 of the Complaint.

         59.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 59 of the Complaint.




                                                   -6-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 7 of 12



         60.   Admits the allegations contained in Paragraph 60 of the Complaint to the extent it

alleges Ms. Frarey met with Harbin and Clune on November 4, 2015, but otherwise denies the

remaining allegations contained in Paragraph 60 of the Complaint.

         61.   Denies the allegations contained in Paragraph 61 of the Complaint.

         62.   Denies the allegations contained in Paragraph 62 of the Complaint.

         63.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 63 of the Complaint.

         64.   Denies the allegations contained in Paragraph 64 of the Complaint.

         65.   Admits the allegations contained in Paragraph 65 of the Complaint to the extent

that Ms. Frarey received a final written warning in December 2015, but otherwise denies the

remaining allegations in Paragraph 65 of the Complaint.

         66.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 66 of the Complaint.

         67.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 67 of the Complaint.

         68.   Admits the allegations contained in Paragraph 68 of the Complaint to the extent

that the law firm of Littler Mendelson was retained as special investigative counsel, but

otherwise denies knowledge or information sufficient to form a belief as to the truth or falsity of

the remaining allegations contained in Paragraph 68 of the Complaint.

         69.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 69 of the Complaint.

         70.   Denies the allegations contained in Paragraph 70 of the Complaint.

         71.   Denies the allegations contained in Paragraph 71 of the Complaint.

                                                   -7-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 8 of 12



         72.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 72 of the Complaint.

         73.   Admits the allegations contained in Paragraph 73 of the Complaint to the extent

that Ms. Frarey was placed on paid administrative leave in February 2016, but otherwise denies

the remaining allegations in Paragraph 73 of the Complaint.

         74.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 74 of the Complaint.

         75.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 75 of the Complaint.

         76.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 76 of the Complaint.

         77.   Denies knowledge or information sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 77 of the Complaint.

         78.   Admits the allegations contained in Paragraph 78 of the Complaint to the extent

that Dr. Harbin was apprised of Littler Mendelson’s report to the Board, but otherwise denies

knowledge or information sufficient to form a belief as to the truth or falsity of the remaining

allegations contained in Paragraph 78 of the Complaint.

         79.   Admits the allegations contained in Paragraph 79 of the Complaint to the extent it

alleges Ms. Frarey provided a written response on February 22, 2016, containing the quoted

language, but denies the remaining allegations contained in Paragraph 79 of the Complaint.

         80.   Admits the allegations contained in Paragraph 80 of the Complaint to the extent

that Ms. Frarey provided a written statement containing the quoted language, but otherwise

denies the remaining allegations contained in Paragraph 80 of the Complaint.

                                                   -8-


15009912.1
       Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 9 of 12



         81.     Denies the allegations contained in Paragraph 81 of the Complaint.

         82.     Admits the allegations contained in Paragraph 82 of the Complaint to the extent

that the Board recommended terminating Plaintiff’s employment, but otherwise denies the

remaining allegations contained in Paragraph 82 of the Complaint.

         83.     Admits the allegations contained in Paragraph 83 of the Complaint.

             FIRST CLAIM – FEDERAL FALSE CLAIMS ACT, 31 U.S.C. § 3730(H)

         84.     Paragraph 84 of the Complaint merely repeats the prior allegations, and therefore,

no response is required. To the extent a response to Paragraph 84 is required, Defendant

incorporates its responses to the repeated allegations, and otherwise denies the allegations.

         85.     Paragraph 85 of the Complaint merely describes Plaintiff’s claim, and therefore, no

response is required. To the extent a response to Paragraph 85 is required, Defendant denies the

allegations.

         86.     Denies the allegations contained in Paragraph 86 of the Complaint.

         87.     Denies the allegations contained in Paragraph 87 of the Complaint.

         88.     Denies the allegations contained in Paragraph 88 of the Complaint.

         89.     Denies the allegations contained in Paragraph 89 of the Complaint.

         90.     Denies the allegations contained in Paragraph 90 of the Complaint.

             SECOND CLAIM – N.Y. FALSE CLAIMS ACT, N.Y. FIN. LAW § 191(1)

         91.     Paragraph 91 of the Complaint merely repeats the prior allegations, and therefore,

no response is required. To the extent a response to Paragraph 91 is required, Defendant

incorporates its responses to the repeated allegations, and otherwise denies the allegations.




                                                    -9-


15009912.1
      Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 10 of 12



         92.    Paragraph 92 of the Complaint merely describes Plaintiff’s claim, and therefore, no

response is required. To the extent a response to Paragraph 92 is required, Defendant denies the

allegations.

         93.    Denies the allegations contained in Paragraph 93 of the Complaint.

         94.    Denies the allegations contained in Paragraph 94 of the Complaint.

         95.    Denies the allegations contained in Paragraph 95 of the Complaint.

         96.    Denies the allegations contained in Paragraph 96 of the Complaint.

         97.    Denies the allegations contained in Paragraph 97 of the Complaint.

                                         JURY DEMAND

         98.    Paragraph 98 of the Complaint is merely a demand for a jury trial, to which no

response is required. Defendant demands a trial by jury on all claims in this action.

                     AS AND FOR A FIRST AFFIRMATIVE DEFENSE


         99.    Plaintiff’s claims are barred, in whole or in part, because they fail to state a claim

upon which relief can be granted.

                    AS AND FOR A SECOND AFFIRMATIVE DEFENSE


         100.   Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

                     AS AND FOR A THIRD AFFIRMATIVE DEFENSE

         101.   Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

                    AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

         102.   This Court lacks subject matter jurisdiction over some or all of Plaintiff’s claims.

                     AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

                                                     - 10 -


15009912.1
      Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 11 of 12



         103.   Plaintiff cannot recover damages because Plaintiff has failed to plead and cannot

establish facts sufficient to support such damages or unlawful conduct on the part of the

Defendant which would support the award of such damages.

                     AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

         104.   Defendant’s actions were based on legitimate, non-discriminatory business

reasons, and not unlawful retaliation.

         WHEREFORE, Defendant requests that Plaintiff’s Complaint be dismissed with

prejudice, and for such other and further relief as this Court shall deem just, proper, and

equitable.


DATED:          May 4, 2018

                                                    BARCLAY DAMON LLP

                                                    By: /s/ Brittany E. Lawrence
                                                        Robert P. Heary
                                                        Brittany E. Lawrence

                                                           Attorneys for Defendant
                                                           Anthony L. Jordan Health Corporation

                                                           Robert P. Heary
                                                           The Avant Building
                                                           200 Delaware Avenue
                                                           Buffalo, New York 14202
                                                           Tel: (716) 566-1570
                                                           Facsimile: (716)-846-1202
                                                           E-mail: rheary@barclaydamon.com

                                                           Brittany E. Lawrence
                                                           2000 Five Star Bank Plaza
                                                           100 Chestnut Street, Suite 2000
                                                           Rochester, New York 14604
                                                           Tel: (585) 295-4320
                                                           Facsimile: (585) 295-8420
                                                           E-mail: blawrence@barclaydamon.com

                                                  - 11 -


15009912.1
      Case 6:18-cv-06216-FPG-MWP Document 8 Filed 05/04/18 Page 12 of 12



To:      ROTHENBERG LAW
         Michael Rothenberg, Esq.
         David Rothenberg, Esq.
         Attorneys for Plaintiff Kimberlee A. Frarey
         45 Exchange Boulevard, Suite 80
         Rochester, New York 14614




                                                   - 12 -


15009912.1
